                                                                               Case 24-15755-LMI              Doc 90-4   Filed 08/21/24       Page 1 of 7
                                         Celadon Financial Group LLC
                                         10 North Park Place
                                         Suite 420
                                         Morristown, NJ 07960
                                         (973) 701-8033
0005072-0103741 PDFT 001 ------ 676133




                                                                                                                     Account Summary for                    Page 1 of 7
                                                                                                                     07-01-24 thru 07-31-24


                                                                                                                     Your Investment Executive              Account Number: XXXX-1441
                                                                                                                     RALPH LAMBERTI
                                                                                                                     19 CENTER STREET                       IE Code: NDR4
                                                                                                                     CHATHAM, NJ 07928
                                                                       NN
                                                                       SUPP




                                                                              WEBDUSH SECURITIES PRIME BRKR
                                                                                                                     973-701-8033
                                                                              ATTN: ANTHONY IVANKOVICH
                                                                              1000 BRICKELL STE 7155243
                                                                              A & O FAMILY LLC


                                                                              MIAMI, FL 33131
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                  Celadon Financial Group LLC                                                             Account Number: XXXX-1441      07-01-24 thru 07-31-24
                                                                                                          Currency: USD                  Page 3 of 7
                  A & O FAMILY LLC
                  WEBDUSH SECURITIES PRIME BRKR
                  ATTN: ANTHONY IVANKOVICH
0005072-0103743




                  ACCOUNT SUMMARY
                  (Unpriced Securities Excluded)       ENDING BALANCE              INCOME/PRINCIPAL SUMMARY           CURRENT MONTH YEAR TO DATE
                  MONEY BALANCE                            -2,905,498.07           CASH DIVIDEND                             8,156.32   24,468.96
                  EQUITIES                                    403,380.00           TAX EXEMPT INTEREST                           0.00   13,602.77
                  BONDS: TAXABLE                            2,728,544.89           GOVERNMENT INTEREST                           0.00   32,731.25
                  BONDS: MUNICIPAL                            661,795.69           TAXABLE INTEREST                             97.14   15,289.78
                  ACCOUNT NET WORTH                           888,222.51           TOTAL INCOME/PRINCIPAL                    8,253.46          86,092.76
                                                                                   DEBIT INTEREST EXPENSE                   17,198.55         119,985.40

                  ACCOUNT PORTFOLIO
                                                                                                            SYMBOL/                 PRICE             CURRENT       TYPE
                       QUANTITY       DESCRIPTION                                                           CUSIP                ACCRUED                VALUE
                  MONEY BALANCE
                                      Cash                                                                                                                   0.00    1
                                      Margin                                                                                                        -2,905,498.07    2
                                      Short                                                                                                                  0.00    3
                                      MONEY BALANCE TOTAL                                                                                           -2,905,498.07
                  EQUITIES
                           13,500     AGNC INVESTMENT CORP DEP REP 1/1000TH CUML REDEEM G PERPTL 7.75%      AGNCL                  24.44000           329,940.00     2
                                      CUSIP: 00123Q856
                             3,000    ELLINGTON FINANCIAL INC CUMULATIVE PFD R CUSIP: 28852N406             EFCPRC                24.48000             73,440.00     2
                             1,000    WTS 60 DEGREES PHARM INC EXP 6/8/28 NON TRADEABLE                     83006G120          NOT PRICED                   0.00     2
                             1,400    WTS PANBELA THERAPEUTICS CL A EXP 6/8/28                              69833W156          NOT PRICED                   0.00     2
                             1,400    WTS PANBELA THERAPEUTICS CL B EXP 6/9/28                              69833W164          NOT PRICED                   0.00     2
                             1,000    WTS SYRA HEALTH CORP EXP 10/03/28                                     87168W112          NOT PRICED                   0.00     2
                             1,000    WTS UR ENERGY INC EXP 02/21/2026                                      91688R132          NOT PRICED                   0.00     2
                                      EQUITIES TOTAL                                                                                                  403,380.00
                  BONDS: TAXABLE
                           12,000     CELANESE US HLDGS LLC 6.7 11/15/33                                    15089QAY0            107.18600             13,032.05     2
                                                                                                                                    169.73
                           70,000     CONCENTRIX CORPORATION CPN 6.85 EXP 08/02/33                          20602DAC5            101.76500             73,619.68     2
                                                                                                                                  2,384.18
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                  Celadon Financial Group LLC                                                                Account Number: XXXX-1441      07-01-24 thru 07-31-24
                                                                                                             Currency: USD                  Page 4 of 7


                                                                                                               SYMBOL/                 PRICE          CURRENT        TYPE
0005072-0103744




                       QUANTITY       DESCRIPTION                                                              CUSIP                ACCRUED              VALUE
                          10,000      ENERGY TRANSFER L P 6.4 12/01/30                                         29273VAT7            107.04200          10,810.87      2
                                                                                                                                       106.67
                             11,000   EXTRA SPACE STORAGE LP SR NT 5.7 28                                      30225VAJ6            102.29300         11,461.23       2
                                                                                                                                       209.00
                          600,000     META PLATFORMS INC GLBL NT 3.85 32                                       30303M8H8             94.60900        578,305.67       2
                                                                                                                                    10,651.67
                              4,000   STATE STR CORP SR NT FIXED/FLT G                                         857477BZ5             99.76000           3,993.10      2
                                                                                                                                         2.70
                         2,000,000    US TREASURY N/B T 3.250 08/31/24                                         91282CFG1             99.79000       2,022,824.46      2
                                                                                                                                    27,024.46
                             10,000   US TREASURY N/B T 4.625 09/30/30                                         91282CHZ7            103.21100         10,475.27       2
                                                                                                                                       154.17
                              4,000   VODAFONE GROUP PLC NT 53                                                 92857WBY5             97.89200           4,022.56      2
                                                                                                                                       106.88
                                      BONDS: TAXABLE TOTAL                                                                                          2,728,544.89
                  BONDS: MUNICIPAL
                          285,000     NEW YORK ST DORM AUTH ST PERS GEN PURP BDS 2023 CPN 5% EXP 03/15/29 64990F4B7                 109.44500        317,301.58       2
                                                                                                                                     5,383.33
                          305,000     NEW YORK ST DORM AUTH ST PERS GEN PURP BDS 2023 CPN 5% EXP 03/15/30 64990F4C5                 111.06000        344,494.11       2
                                                                                                                                     5,761.11
                                      BONDS: MUNICIPAL TOTAL                                                                                         661,795.69
                                      ACCOUNT NET WORTH                                                                                              888,222.51

                  ACCOUNT ACTIVITY
                                                                                                                                      AMOUNT          AMOUNT
                  DATE          ACTIVITY                    QUANTITY      DESCRIPTION                                   PRICE        CHARGED         CREDITED        TYPE
                                                                         OPENING BALANCE                                           2,896,552.98
                  07-15-24      Dividend                                 AGNC INVESTMENT CORP DEP REP 1/1000TH                                          6,539.13      2
                                                                         CUML REDEEM G PERPTL 7.75% AGNC PFD
                                                                         7.75%     13500 SYMBOL:AGNCL
                  07-26-24      Taxable Interest                         STATE STR CORP SR NT FIXED/FLT G STATE                                            97.14      2
                                                                         4.85026    4000 CUSIP:857477BZ5
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                  Celadon Financial Group LLC                                                 Account Number: XXXX-1441         07-01-24 thru 07-31-24
                                                                                              Currency: USD                     Page 5 of 7


                                                                                                                       AMOUNT             AMOUNT
0005072-0103745




                  DATE       ACTIVITY           QUANTITY    DESCRIPTION                                  PRICE        CHARGED            CREDITED        TYPE
                  07-30-24   Dividend                      ELLINGTON FINANCIAL INC CUMULATIVE PFD                                          1,617.19        2
                                                           R ELLINGTON F PFD      3000
                                                           SYMBOL:EFCPRC
                  07-31-24   Interest                      7.00000%31 DAYS,BAL= $2892843                                  17,198.55                       2
                                                           CLOSING BALANCE                                          2,905,498.07
                                                            Case 24-15755-LMI        Doc 90-4   Filed 08/21/24 Page 6 of 7
                  Celadon Financial Group LLC                                                             Account Number: XXXX-1441     07-01-24 thru 07-31-24
                                                                                                          Currency: EUR                 Page 6 of 7

                  ACCOUNT SUMMARY
                  (Unpriced Securities Excluded)    ENDING BALANCE               INCOME/PRINCIPAL SUMMARY             CURRENT MONTH YEAR TO DATE
0005072-0103746




                  MONEY BALANCE                                0.00              TOTAL INCOME/PRINCIPAL                          0.00          0.00
                  ACCOUNT NET WORTH                            0.00

                  ACCOUNT PORTFOLIO
                                                                                                            SYMBOL/                 PRICE         CURRENT        TYPE
                       QUANTITY       DESCRIPTION                                                           CUSIP                ACCRUED            VALUE
                  MONEY BALANCE
                                      Cash                                                                                                              0.00      1
                                      MONEY BALANCE TOTAL                                                                                               0.00
                                      ACCOUNT NET WORTH                                                                                                 0.00

                  ACCOUNT ACTIVITY
                                                                                                                                   AMOUNT         AMOUNT
                  DATE         ACTIVITY                   QUANTITY     DESCRIPTION                                    PRICE       CHARGED        CREDITED        TYPE
                                                                      OPENING BALANCE                                                                   0.00
                                                                      CLOSING BALANCE                                                                   0.00
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                  Celadon Financial Group LLC                                                             Account Number: XXXX-1441     07-01-24 thru 07-31-24
                                                                                                          Currency: GBP                 Page 7 of 7

                  ACCOUNT SUMMARY
                  (Unpriced Securities Excluded)    ENDING BALANCE               INCOME/PRINCIPAL SUMMARY             CURRENT MONTH YEAR TO DATE
0005072-0103747




                  MONEY BALANCE                                0.00              TOTAL INCOME/PRINCIPAL                          0.00          0.00
                  ACCOUNT NET WORTH                            0.00

                  ACCOUNT PORTFOLIO
                                                                                                            SYMBOL/                 PRICE         CURRENT        TYPE
                       QUANTITY       DESCRIPTION                                                           CUSIP                ACCRUED            VALUE
                  MONEY BALANCE
                                      Cash                                                                                                              0.00      1
                                      MONEY BALANCE TOTAL                                                                                               0.00
                                      ACCOUNT NET WORTH                                                                                                 0.00

                  ACCOUNT ACTIVITY
                                                                                                                                   AMOUNT         AMOUNT
                  DATE         ACTIVITY                   QUANTITY     DESCRIPTION                                    PRICE       CHARGED        CREDITED        TYPE
                                                                      OPENING BALANCE                                                                   0.00
                                                                      CLOSING BALANCE                                                                   0.00
